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                                                                        UNITED ST/\Tfr:i DtSTRiCT COURT
                                                                         ALBUQI- i:.;i',: t r., i\iEW MEXICO


                                IN THE LINITED STATES DISTRICT     COURT         DEC ()   8   2OI9


                                  FoR THE DISTRICT oF NEw      MEXICO       MITCHEL1 R. ELFER$
                                                                                  GLERK
UNITED STATES OF AMERICA,

                   Plaintiff,                              CRIMINAL NO.
                                                                                p-/4)44q{E
       vs.                                                 21 u.s.c. $$ 8a1(a)(1) and (bX1XB):
                                                           Possession with Intent to Distribute 100
JOSEPH M. PEREZ,                                           Grams and More of Heroin.

                   Defendant.



                                          INDICTMENT
The Grand Jury charges:

       On or about November 11,2019, in Bernalillo County, in the District of New Mexico, the

defendant, JOSEPH M. PEREZ, unlawfully, knowingly and intentionally possessed with intent

to distribute a controlled substance, and the offense involved 100 grams and more of a mixture

and substance containing a detectable amount of heroin.

       In violation of 21 U.S.C. $$ 8a1(a)(1) and (bX1XB).


                                                     A TRUE BILL:


                                                     lsl
                                                     FOREPERSON OF THE GRAND JURY


        .   United States Attorney

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